                     Case 2:22-cr-00429-JMA-AYS                  Document 177-1            Filed 05/22/25           Page 1 of 1 PageID
                                                                       #: 985
TO: Clerk's Office
                                                                                     FILED
    UNITED STATES DISTRICT COURT                                                     CLERK
    EASTERN DISTRICT OF NEW YORK
                                                                             5/22/2025 12:45 pm
                                                                            U.S. DISTRICT COURT
     APPLICATION FOR LEAVE                                             EASTERN DISTRICT OF NEW YORK
   TO FILE DOCUMENT UNDER SEAL
                                                                            LONG ISLAND OFFICE
                                                                                        A) If pursuant to a prior Court Order:
******************************************                                              Docket Number of Case in Which Entered: _ _ _ _ _ _ __
                                                                                        Judge/Magistrate Judge: _ _ _ _ _ _ _ _ _ _ _ _ _ __
USA                                                                                     Date Entered:
                                                                                                      -------------------
             -v -
                                                     22-cr-429
                                                     Docket Number

******************************************

SUBMITTED BY: PlaintiffO
Name:
                          DefendantO DOJ             D                                  B) If a !!filY application, the statute, regulation, or other legal basis that
                                                                                        authorizes filing under seal
      ------------------
Finn Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Phone Number:                                                                           ORDERED SEALED AND PLACED IN THE CLERK'S OFFICE,
              ---------------
E-Mail Address:                                                                         AND MAY .filll.BE UNSEALED UNLESS ORDERED BY
                    ---------------                                                     THE COURT.
INDICATE UPON THE PUBLIC DOCKET SHEET:          YES□ NO □
If yes, state description of document to be entered on docket sheet:                    DATED: 05/22/2025                          , NEW YORK

                                                                                               Isl Joan M. Azrack
                                                                                        U.S. DISTRICT JUDGE~ ~ E = . W D ~
                                                                                                       RECEIVED IN CLERK'S
                                                                                                OFFICE
                                                                                                      ------------
                                                                                                                           DATE



          TORY CERTIFICATION OF SERVICE:                                                                        □
A.)        copy of this application eithe1n en or wif-b',prornptly served upon all pa1t ies to this action, B.)   Service is excused by 31 U.S.C. 3730(b), or by
the following other statute or regulation:  ; or C.) LJThis is a criminal document submitted, and flight public safety, or security are significant concerns.
(Check one)


                             DATE                                        SIGNATURE
